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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

    Plaintiff,

    v.                                                  Criminal Action No. 17-232-EGS

    MICHAEL T. FLYNN,

    Defendant.



                        UNOPPOSED MOTION FOR LEAVE TO
                      EXCEED PAGE LIMITS SET BY LOCAL RULE

         Michael T. Flynn (“Mr. Flynn”) respectfully requests to file his reply brief to the

Government’s Response (Dkt. 122) to the Defendant’s Motion to Compel the Production of Brady

Material and For an Order to Show Cause (Dkt. 111) in excess of the page limits specified in Local

Criminal Rule 47(e). Mr. Flynn requests that leave be granted to file a reply brief not exceeding

35 pages. Counsel for Mr. Flynn consulted with counsel for the Government, who state that they

“do not oppose” this requested relief.

Dated: October 21, 2019                             Respectfully Submitted,



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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 21, 2019, true and genuine copies of Mr. Flynn’s Motion

for Leave to Exceed Page Limits were served via electronic mail by the Court’s CM/ECF system

to all counsel of record, including:

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                                                    Respectfully submitted,


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